Case 2:07-cr-00112-RHW   ECF No. 186   filed 09/11/08   PageID.914 Page 1 of 6
Case 2:07-cr-00112-RHW   ECF No. 186   filed 09/11/08   PageID.915 Page 2 of 6
Case 2:07-cr-00112-RHW   ECF No. 186   filed 09/11/08   PageID.916 Page 3 of 6
Case 2:07-cr-00112-RHW   ECF No. 186   filed 09/11/08   PageID.917 Page 4 of 6
Case 2:07-cr-00112-RHW   ECF No. 186   filed 09/11/08   PageID.918 Page 5 of 6
Case 2:07-cr-00112-RHW   ECF No. 186   filed 09/11/08   PageID.919 Page 6 of 6
